Case 3:06-cr-30008-GPM         Document 85       Filed 04/13/06     Page 1 of 1     Page ID #155




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
 vs.                                             )   CRIMINAL NO. 06-30008-02-GPM
                                                 )
 DONNY SCHREIBER,                                )
                                                 )
                       Defendant.                )


       ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
             GUILT, AND NOTICE OF SENTENCING
 MURPHY, Chief District Judge:

        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

 there has been no timely objection, the plea of guilty of Defendant Donny Schreiber to Count 1 of

 the Indictment is hereby accepted, and Defendant is adjudged guilty of such offense.

        A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

 Agreement pending review of the Presentence Investigation Report.

        Sentencing is hereby scheduled for Monday, June 12, 2006, at 11:00 a.m.

        IT IS SO ORDERED.

        DATED: 4/13/06


                                                     s/ G. Patrick Murphy
                                                     G. PATRICK MURPHY
                                                     Chief United States District Judge
